Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 1 of 33 PageID: 12108




             Exhibit 40
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 2 of 33 PageID: 12109



                                                                    Page 1

   1                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
   2                      CIVIL ACTION NO.: 2:16-cv-06576
   3        INDUSTRIA DE ALIMENTOS ZENU      )
            S.A.S.,                          )
   4                                         )
            Plaintiff,                       )
   5                                         ) DEPOSITION OF:
                -vs-                         )
   6                                         ) ALEJANDRO
            LATINFOOD U.S. CORP. d/b/a ZENU ) YEPES
   7        PRODUCTS CO. and WILSON          )
            ZULUAGA,                         )
   8                                         )
            Defendant/Counter Plaintiffs,    )
   9        _______________________________ )
                                             )
  10        LATINFOOD U.S. CORP. d/b/a ZENU )
            PRODUCTS CO.,                    )
  11                                         )
            Defendant/Counter Plaintiff,     )
  12                                         )
                -vs-                         )
  13                                         )
            INDUSTRIA DE ALIMENTOS ZENU      )
  14        S.A.S. AND CORDIALSA USA, INC., )
                                             )
  15        Counter Defendants.              )
                                             )
  16        _______________________________
  17
  18                   TRANSCRIPT of the stenographic notes of
  19      the proceedings in the above-entitled matter, as
  20      taken by and before LORINDA LEON, a Certified Court
  21      Reporter of the State of New Jersey, license number
  22      XIO1485, and Notary Public of the State of New
  23      Jersey, held at the office of THE INGBER LAW FIRM, 51
  24      John F. Kennedy Boulevard, Short Hills, New Jersey,
  25      on Wednesday, May 22, 2019 commencing at 10:15 a.m.

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 3 of 33 PageID: 12110



                                                                      Page 26

   1                     MR. INGBER:       Okay.
   2                     MR. KADOSH:       I can't remember if it was
   3      at the end of last week.
   4              Q.     I'm not interested, just so you know --
   5      I'm not going to ask you any questions about what you
   6      discussed with your attorney but if there were any
   7      discussions before, before Mr. Kadosh became your
   8      attorney in addition to this I'd like to know about
   9      that.
  10                     Were there any, were there any further
  11      communications with Mr. Arango before Mr. Kadosh
  12      became involved?
  13              A.     In December I called him to wish him a
  14      Merry Christmas.
  15              Q.     And did he mention this case to you?
  16              A.     No.
  17              Q.     Did you exchange any e-mails with Mr.
  18      Arango about this case?
  19              A.     No.
  20              Q.     Is today the first day you met with your
  21      attorney?
  22              A.     Yes.
  23              Q.     And was your wife present during this
  24      meeting with Mr. Kadosh?
  25              A.     We didn't meet before.              Just today.

                                  Veritext Legal Solutions
       800-227-8440                                                        973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 4 of 33 PageID: 12111



                                                                   Page 27

   1              Q.     Was she present during any communication
   2      between, today between you and Mr. Kadosh?
   3              A.     The day that he called me to tell me
   4      that he was representing me, then she was there with
   5      me.
   6              Q.     What is your wife's name?
   7              A.     Viviana.
   8                     MR. KADOSH:       Mark, I'll put on the
   9      record that Viviana was serving as Mr. Yepes'
  10      translator and so any conversations that I had with
  11      Mr. Yepes through Viviana would remain privileged.
  12                     MR. INGBER:       Okay.
  13              Q.     Did you review any documents before you
  14      got here, other than this subpoena?
  15              A.     No.
  16              Q.     Did you enter into any kind of
  17      nondisclosure agreement with Cordialsa?
  18              A.     No.
  19              Q.     Have you ever entered into any
  20      confidentiality agreement with Cordialsa?
  21              A.     No.
  22              Q.     Now, what type of company is Cordialsa?
  23              A.     They manufacture, well, distributing,
  24      distribution of products in the United States.
  25              Q.     What kind of products?

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 5 of 33 PageID: 12112



                                                                   Page 28

   1              A.     Coffee.     (In English) Chocolate drinks.
   2      (Through the interpreter)          Cookies and candy.
   3              Q.     How about meat?
   4              A.     Not Cordialsa.
   5              Q.     Is there another branch of Cordialsa
   6      that sells meat?
   7              A.     Not Cordialsa.
   8              Q.     How about vegetables, beans?
   9              A.     Not that I know of.
  10              Q.     Just chocolate and candy?
  11              A.     And cookies.
  12              Q.     And cookies.        And were those the only
  13      products you were, you were selling on their behalf
  14      when you were working for them?
  15              A.     Yes.
  16              Q.     How many people does Cordialsa employ?
  17              A.     Until before I left there were 15 in
  18      sales and five in the management.
  19              Q.     Does that include the 15 in sales that
  20      were, under your supervision when you left?
  21              A.     Yes.
  22              Q.     Where are their products sold?
  23              A.     Latin supermarkets.
  24              Q.     What geographic areas do they sell?
  25              A.     New York, New Jersey and Connecticut.

                                   Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 6 of 33 PageID: 12113



                                                                   Page 33

   1      between Cordialsa and a company by the name of
   2      Industria?
   3              A.     Only Industria?
   4              Q.     Industria De Alimentos.
   5              A.     Industria De Alimentos has a name?
   6              Q.     Industria De Alimentos Zenu.
   7              A.     Oh, yes.
   8              Q.     What do you know their relationship to
   9      be?
  10              A.     It's my understanding that they belong
  11      to the same group.
  12              Q.     And what group is that?
  13              A.     Nutressa.
  14              Q.     Did you have any dealings with anybody
  15      working for Industria De Alimentos Zenu?
  16              A.     No.
  17              Q.     Do you know a Luis Salazar from
  18      Industria De Alimentos Zenu?
  19              A.     No.
  20              Q.     Do you recall ever meeting anybody from
  21      that company?
  22              A.     No.
  23              Q.     How about Nutressa, have you met people
  24      that work for Nutressa?
  25              A.     The ones that work for, the brands that

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 7 of 33 PageID: 12114



                                                                   Page 34

   1      I mentioned.
   2              Q.     Do you know -- what do you know about
   3      the brands Zenu and Ranchero?
   4              A.     They're the ones that I used to consume
   5      when I was a child.
   6              Q.     Back in Columbia?
   7              A.     And in my main city.
   8              Q.     Have you consumed those goods in the
   9      U.S.?
  10              A.     No.
  11              Q.     Who, who are the typical customers --
  12      strike that.
  13                     I believe you said that the customers of
  14      Cordialsa in the U.S. are typically from Latin
  15      America.
  16              A.     Yes.
  17              Q.     Any particular countries in Latin
  18      America?
  19              A.     Columbians.       And Central Americans
  20      mostly.
  21              Q.     Mexicans, too?
  22              A.     A few.
  23              Q.     How about people from Argentina?
  24              A.     No.
  25              Q.     Or Chile?

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 8 of 33 PageID: 12115



                                                                     Page 35

   1              A.     Zuko.
   2              Q.     And what about from Peru?
   3              A.     A few.
   4              Q.     Venezuela?
   5              A.     No.
   6              Q.     What about Bolivia?
   7              A.     No.
   8              Q.     So most of the customers you would say
   9      of Cordialsa products are from Columbia and Central
  10      American countries.
  11                     Is that correct?
  12                     MR. KADOSH:       Objection.        Asked and
  13      answered.
  14              A.     Yes.
  15              Q.     Are you aware of any U.S. locations
  16      where Zenu or Ranchero branded products are developed
  17      or manufactured?
  18                     MR. KADOSH:       Objection.        Can you just
  19      clarify whether you're referring to the Latinfood's
  20      Zenu and Ranchero products or the Industria Zenu or
  21      Ranchero products?
  22                     MR. INGBER:       I asked him if he's aware
  23      of any U.S. locations where Zenu and Ranchero brand
  24      products are manufactured.
  25              Q.     Please answer that question, please.

                                  Veritext Legal Solutions
       800-227-8440                                                      973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 9 of 33 PageID: 12116



                                                                   Page 42

   1      business called Food Bazarre?            Is that a name you're
   2      familiar with?
   3              A.     Yes.
   4              Q.     How many locations did they have?
   5              A.     We worked with about six supermarkets.
   6      The six that were most important to us.
   7              Q.     Do you know if Latinfood was selling
   8      any, any Zenu or Ranchero branded products in C-Town?
   9              A.     I don't know.
  10              Q.     How about Bravo Supermarkets, do you
  11      know if Latinfood was selling Zenu or Ranchero
  12      branded goods there?
  13              A.     I'm not sure.
  14              Q.     How about Twin City?
  15              A.     I'm not sure.
  16              Q.     How about Supremo?
  17              A.     I'm not sure either.
  18              Q.     How about Food Fair?
  19              A.     Yes.
  20              Q.     Food Fair.      How about Food Bazarre?
  21              A.     I don't know.
  22              Q.     Did you ever buy any Latinfood products?
  23              A.     I don't remember.          Perhaps.
  24              Q.     Did you buy -- do you remember buying
  25      any Latinfood Zenu branded product?

                                  Veritext Legal Solutions
       800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 10 of 33 PageID: 12117



                                                                    Page 43

    1              A.     Oh, no, I did not.
    2              Q.     How about Ranchero?
    3              A.     No.
    4              Q.     Are you aware of any -- so were you
    5      dealing with customers meaning the end users, the
    6      people who were buying the cookies or were you just
    7      dealing with the, the supermarket representatives?
    8              A.     Especially with the manager.
    9              Q.     Did anybody ever tell you or discuss
   10      with you that there was any kind of confusion in the
   11      U.S. concerning the Zenu or Ranchero marks?
   12              A.     No.    Only until the day that I ran into
   13      Mr. Zuluaga.
   14              Q.     Are you aware of any time when a person
   15      has been confused as to who was the owner of Zenu or
   16      Ranchero marks in the U.S.?
   17              A.     No.
   18              Q.     Has anyone ever asked you if Cordialsa
   19      is affiliated with Latinfood in the U.S.?
   20              A.     No.
   21              Q.     During your employment at Cordialsa did
   22      you ever participate in any trade shows?
   23              A.     Yes.
   24              Q.     Where were they?
   25              A.     In Secaucus.       I don't remember the name

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 11 of 33 PageID: 12118



                                                                    Page 44

    1      of the place.
    2              Q.     How many times did you go?
    3              A.     Two times.
    4              Q.     Do you know the name of the, of the
    5      trade show?
    6              A.     Not the name of the show but just who
    7      was hosting it.      It was C&S and Krasdale.
    8              Q.     Do you know who that stands for, C&S?
    9              A.     No.    That's just the name.        They're a
   10      food distributor.
   11              Q.     Where are they located?
   12              A.     The office is in Edison, New Jersey.
   13              Q.     Do you recall if the name of the trade
   14      show was the White Rose trade show?
   15              A.     I think it has the same name as a
   16      distributor.
   17              Q.     So did you attend these trade shows on
   18      behalf of Cordialsa?
   19              A.     Yes.
   20              Q.     Did you have a booth?
   21              A.     Yes.
   22              Q.     How many people were at the booth for
   23      Cordialsa?
   24              A.     Two.
   25              Q.     Who was the other person?

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 12 of 33 PageID: 12119



                                                                    Page 47

    1      goods from outside of the country and into the U.S.?
    2              A.     I don't know.
    3              Q.     So have you ever been involved in
    4      marketing or sales of Zenu or Ranchero branded
    5      products in the U.S.?
    6              A.     No.
    7              Q.     Do you know if Cordialsa has a sales
    8      team in the U.S. for selling Zenu or Ranchero branded
    9      products?
   10              A.     They do not have one.
   11              Q.     Do you know if Industria provides
   12      Cordialsa with any sales strategy or sales material?
   13              A.     I don't know.
   14              Q.     Do you know if Cordialsa has ever tried
   15      to sell Industria Zenu or Ranchero branded products
   16      in the U.S.?
   17              A.     I don't know.
   18              Q.     Getting back to Luis Arango, he was your
   19      boss?
   20              A.     Yes.
   21              Q.     And how often did you communicate with
   22      him?
   23              A.     Two or three times a week.
   24              Q.     And how did you communicate with him?
   25      Was it via e-mail, text, phone calls?

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 13 of 33 PageID: 12120



                                                                    Page 48

    1              A.     Phone calls and e-mails.
    2              Q.     Did he ever phone you or e-mail you
    3      about Latinfood Zenu/Ranchero branded products?
    4              A.     No.
    5              Q.     Did you ever receive any instructions
    6      from Cordialsa telling you to stop or disrupt the
    7      marketing of Latinfood Zenu and Ranchero branded
    8      products in the New York metro area?
    9              A.     No.
   10              Q.     Did you have any discussions with Mr.
   11      Arango about how to handle or deal with Latinfood
   12      Zenu and Ranchero branded products in the New York
   13      area?
   14              A.     What do you mean by "dealing with or
   15      handle?"
   16              Q.     Did Mr. Arango express any concern to
   17      you about Latinfood Zenu and Ranchero branded
   18      products in your area?
   19              A.      No.
   20              Q.     Were you aware of any issues that
   21      Cordialsa had with Latinfood Zenu and Ranchero
   22      branded products in your area?
   23                     MR. KADOSH:       Objection.
   24                     You can answer.
   25              A.     No.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 14 of 33 PageID: 12121



                                                                    Page 49

    1              Q.     Did Cordialsa -- do you know if
    2      Cordialsa directed its sales employees to inform New
    3      York area stores that Zenu branded products that are
    4      being sold are fake or unauthorized?
    5                     MR. KADOSH:       Objection.
    6              A.     I'm sure they did not.
    7              Q.     Now, I'd like to read into the record
    8      for translation purposes paragraphs 18 and 19 of
    9      Latinfood's counterclaims.
   10                     THE INTERPRETER:          Starts at page 23?
   11                     MR. INGBER:       Yes.
   12              Q.     "On or around July 15th, 2015 Latinfood
   13      through its principal Mrs. Zuluaga was performing a
   14      regular visit to its customer Food Fair Supermarket
   15      located at 976 Market Street, Paterson, New Jersey,
   16      07513 when the store manager requested that Latinfood
   17      pick up and remove all Latinfood's Zenu branded
   18      products from the store.         The manager informed
   19      Latinfood that the area manager of Cordialsa
   20      Alejandro Yepes told him that the Latinfood's Zenu
   21      branded products were, quote, fake and intimidated
   22      the manager into removing the products from the store
   23      entirely."
   24                     Next paragraph.         "On or around July 15,
   25      2015 Mr. Zuluaga was able to speak with Mr. Yepes in

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 15 of 33 PageID: 12122



                                                                    Page 50

    1      the parking lot.      And Mr. Yepes admitted that he had
    2      told the Food Fair Supermarket store manager that the
    3      Latinfood products were fake and that he had
    4      requested they be removed from the store shelves.
    5      Mr. Yepes continued to say that he had been given
    6      direct orders from his manager Luis Arango to
    7      identify points of sale of any Zenu branded products
    8      and to tell such point of sale that the products were
    9      fake and that they had to be removed immediately from
   10      the sales floor."
   11                     Now, do you remember going to Food Fair
   12      Supermarket and/or around July 15, 2015?
   13              A.     Yes.
   14              Q.     Do you know Elvis Rodriguez?
   15              A.     Yes.
   16              Q.     And who is he?
   17              A.     He's the buyer for the store.
   18              Q.     Did you tell him to pick up -- excuse
   19      me.    Strike that.   Did you tell Mr. Rodriguez --
   20      strike that.
   21                     What did you tell Mr. Rodriguez that
   22      day?
   23              A.     That I was surprised to find the brand
   24      there.
   25              Q.     Why were you surprised?

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 16 of 33 PageID: 12123



                                                                        Page 51

    1              A.     Because it was clear to me that we were
    2      not importing the product from Columbia and I thought
    3      it was imported product.
    4              Q.     I believe you said before that Latinfood
    5      wasn't your competitor.
    6              A.     Yes, I said that.
    7              Q.     So what business did you have worrying
    8      about what Latinfood was selling there?
    9                     MR. KADOSH:        Object.       Objection.   Can
   10      you clarify what you mean when you say what business
   11      did he have?
   12              Q.     Why were you interested in what
   13      Latinfood was selling at Food Fair Supermarket when
   14      they weren't a competitor of Cordialsa?
   15                     MR. KADOSH:        Objection.        Argumentative.
   16                     Answer.
   17              A.     Nothing toward Latinfood.
   18              Q.     Who was it towards?
   19              A.     I was just surprised when I saw the
   20      product there because we were sure, well, I was sure
   21      that we did not have that product.
   22              Q.     What, what made you interested in
   23      Latinfood products being sold at Food Fair
   24      Supermarket if it wasn't your competitor?
   25                     MR. KADOSH:        Objection.        Mr. Yepes

                                    Veritext Legal Solutions
        800-227-8440                                                       973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 17 of 33 PageID: 12124



                                                                       Page 52

    1      didn't testify that he was interested.
    2                     But you can answer the question if you
    3      can.
    4              A.     Nothing.     Just that I thought that that
    5      product was imported from Columbia.                There are other
    6      distributors that did the same thing with our brand.
    7      That's all.    That was my surprise.
    8              Q.     Did you go into Food Fair Supermarket
    9      that day looking for Latinfood Zenu branded product?
   10              A.     No.
   11              Q.     Mr. Arango did not tell you to go into
   12      that, into New York area stores to look for Latinfood
   13      Zenu branded product.
   14                     Is that correct?
   15              A.     No.
   16              Q.     You're under oath today.              I just want
   17      you to be aware of that.         Now you have an obligation
   18      to testify as to the truth.
   19                     MR. KADOSH:       Objection.         Stop badging
   20      the witness.
   21                     You can answer.
   22              A.     He never did this.
   23              Q.     Did somebody else do it at Cordialsa?
   24              A.     No.
   25              Q.     Did anybody ever tell you to look for

                                   Veritext Legal Solutions
        800-227-8440                                                     973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 18 of 33 PageID: 12125



                                                                        Page 53

    1      Latinfood products at any locations that you, that
    2      you were selling your goods to?
    3              A.     No.
    4              Q.     Did you tell Mr. Rodriguez that day that
    5      Latinfood's Zenu branded goods were fake?
    6              A.     No.
    7              Q.     Did you tell Mr. Rodriguez that
    8      Latinfood Zenu goods were unauthorized?
    9              A.     I said that when I thought it was an
   10      imported product.
   11              Q.     And that was a problem?
   12                     MR. KADOSH:       Objection.        Vague.
   13              Q.     Was that a problem that their goods
   14      were, Latinfood goods were imported?               Weren't
   15      Cordialsa's goods imported as well?
   16              A.     Cordialsa is in charge of the management
   17      of all the brands in the group so I would know if
   18      Cordialsa was managing Zenu.
   19              Q.     Why -- did you make a connection between
   20      Cordialsa and Zenu for some reason?
   21                     MR. KADOSH:       Objection.
   22                     You can answer.
   23              A.     I was working in the city and I knew it
   24      was in the group.     And when I go into the Nutressa
   25      web page you can find Zenu there.

                                   Veritext Legal Solutions
        800-227-8440                                                      973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 19 of 33 PageID: 12126



                                                                      Page 54

    1              Q.     Did you tell Mr. Rodriguez that you
    2      wanted the Latinfood Zenu goods removed from the
    3      store shelves?
    4              A.     No.
    5              Q.     Did Mr. Arango ever tell you that
    6      Latinfood Zenu/Ranchero products in the New York
    7      metro area were hurting or damaging Cordialsa or
    8      Industria's reputation?
    9              A.     No.
   10                     MR. KADOSH:       Off the record for a
   11      second.
   12                     (Discussion is held off the record.)
   13      Were the Zenu branded goods that you saw at Food
   14      Fair, were they meat products.
   15              A.     No.
   16              Q.     Do you know we took the deposition of
   17      Mr. Rodriguez?
   18              A.     I did not know.
   19              Q.     Do you know I asked Mr. Yepes -- excuse
   20      me, Mr. Rodriguez on March 18th at his deposition if
   21      you told him that those Zenu branded goods were
   22      unauthorized and he testified that yes, that you told
   23      him that?
   24                     MR. KADOSH:       Objection.        Are you asking
   25      him whether he knew that Mr. Rodriguez gave that

                                   Veritext Legal Solutions
        800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 20 of 33 PageID: 12127



                                                                      Page 55

    1      testimony?    Is that your question?
    2                     MR. INGBER:       I'm asking him that, yes.
    3                     MR. KADOSH:       He already testified that
    4      he didn't know that Mr. Rodriguez gave testimony so
    5      how...
    6                     MR. INGBER:       I'm asking --
    7                     Could you repeat the question?
    8                     (Interpreter interprets.)
    9                     MR. KADOSH:       You can answer.
   10              A.     This is what I thought.             As I said
   11      before, that the products were what we call
   12      contraband.
   13              Q.     Contraband.
   14              A.     And what I said to them, to him was that
   15      we were not liable for that product.
   16              Q.     Was there a reason that you expected to
   17      be held liable for a product that was being sold by
   18      another company Latinfood?
   19              A.     No.
   20              Q.     So you told Mr. Rodriguez that the
   21      Latinfood Zenu products were contraband.
   22                     Correct?
   23              A.     No.   That's what I thought but I didn't
   24      say it.
   25                     MR. INGBER:       Could we go back, can we go

                                   Veritext Legal Solutions
        800-227-8440                                                      973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 21 of 33 PageID: 12128



                                                                        Page 56

    1      back and to the part where he mentioned "contraband"
    2      before and just repeat his answer?
    3                     (Testimony is read back as follows:
    4                     "Do you know I asked Mr. Rodriguez on
    5      March 18th at his deposition if you told him that
    6      those Zenu branded goods were unauthorized and he
    7      testified that yes, that you told him that?
    8                     "ANSWER:     This is what I thought.              As I
    9      said before, that the products were what we call
   10      contraband.    And what I said to them, to him was that
   11      we were not liable for that product.")
   12              Q.     So are you saying that you thought that
   13      they were contraband but you didn't tell him that
   14      they were contraband?
   15                     MR. KADOSH:       Objection.          Asked and
   16      answered.
   17              A.     Yes.
   18              Q.     So Mr. Rodriguez has testified in
   19      response to the question -- strike that.
   20                     I asked Mr. Rodriguez, did he, meaning
   21      you, tell Mr. Rodriguez that they were fake.                 And he
   22      responded that they weren't authorized because it
   23      wasn't Zenu products so yes, fake.                 That's what he
   24      said.
   25                     Is this accurate, this statement?

                                   Veritext Legal Solutions
        800-227-8440                                                        973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 22 of 33 PageID: 12129



                                                                      Page 57

    1              A.     What I said is that we -- well, that
    2      that product was not imported by us.
    3              Q.     Was Cordialsa selling authentic Zenu
    4      product?
    5              A.     No.
    6              Q.     Did you report on this incident to Mr.
    7      Arango?
    8              A.     Yes.
    9              Q.     What did you tell him?
   10              A.     He said not to do anything else, that
   11      the company would take care of everything else.
   12              Q.     How did you contact him?             By phone or
   13      mail, e-mail?
   14              A.     Phone.    Cell phone.
   15              Q.     Did you, did you tell Mr. Rodriguez or
   16      remove the Latinfood Zenu products from the shelves?
   17              A.     No.
   18              Q.     How long was your meeting with Mr.
   19      Rodriguez?
   20              A.     Between five and seven minutes because
   21      that was not the only thing we talked about.
   22              Q.     Before that day was there any other time
   23      that you had approached Mr. Rodriguez and told him
   24      that goods on the shelves were not authorized?
   25                     MR. KADOSH:       Objection.        Are you talking

                                   Veritext Legal Solutions
        800-227-8440                                                    973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 23 of 33 PageID: 12130



                                                                    Page 58

    1      about Latinfood products or any products?
    2              Q.     Any other products.
    3              A.     Can you repeat the question, please?
    4                     (Last question is read back.)
    5              A.     No.
    6              Q.     Had you ever told any other store that
    7      goods on their shelves were, were unauthorized?
    8              A.     No.
    9              Q.     So the only -- is it true that the only
   10      time you ever went into a store and told them that
   11      they were selling unauthorized goods was relating to
   12      Latinfood Zenu products?
   13              A.     Only at that store.
   14              Q.     But Mr. Arango never instructed you to,
   15      to go and speak to Mr. Rodriguez about this.
   16                     Is that correct?
   17              A.     No.
   18              Q.     Now, after that meeting did you, did you
   19      happen to go into your parking lot to leave the
   20      location?
   21              A.     Yes.
   22              Q.     Did you see Mr. Zuluaga there?
   23              A.     Yes.
   24              Q.     Is that the same person that is sitting
   25      in this room with us?

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 24 of 33 PageID: 12131



                                                                    Page 59

    1              A.       Yes.
    2              Q.       And did you have a conversation with Mr.
    3      Zuluaga that day?
    4              A.       Yes.
    5              Q.       Now, Mr. Rodriguez testified at his
    6      deposition that he was a witness to that
    7      conversation.
    8                       Is that true?
    9              A.       Yes.
   10              Q.       So tell me what happened during that
   11      meeting.
   12              A.       He introduced -- Mr. Rodriguez
   13      introduced him to me.       This is about 10 minutes after
   14      we had had our conversation because I did not leave
   15      the store right away.       Once I was in the parking lot
   16      Mr. Rodriguez and Mr. Zuluaga approached me to talk
   17      with me.      Mr. Rodriguez told me that he's the one who
   18      was selling the product.         And Mr. Zuluaga told me
   19      that he was the person selling this product and that
   20      he -- then he explained to me and this was the first
   21      time that I learned that the product was being
   22      manufactured here and that he was the owner of the
   23      brand.      At that moment I recognized it and I, I
   24      apologized to Mr. Zuluaga.          And I told him that from
   25      now on that I would no longer get involved in that

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 25 of 33 PageID: 12132



                                                                    Page 60

    1      business.
    2              Q.        According to paragraph 19 it says that
    3      you admitted that you told the Food Fair Supermarket
    4      store manager that the Latinfood were fake and that
    5      you had requested they be removed from the store
    6      shelves.
    7                        Is that accurate?
    8              A.        The only thing I recognized was after
    9      the explanation of Mr. Zuluaga.
   10              Q.        And what's that?
   11              A.        When he told me that he owned the brand
   12      and that the product was manufactured here.            This was
   13      the first time I heard anything like that.
   14              Q.        But you don't, you don't -- do you deny
   15      again that you called the Latinfood Zenu product
   16      fake?
   17              A.        I said that they weren't -- I said --
   18      well, if they were fake, no.
   19                        MR. KADOSH:     Just to -- can we just
   20      clarify that bit of testimony?
   21                        Did you call the Latinfood products
   22      fake?       Yes or no?
   23                        MR. INGBER:     You'll have to wait until
   24      you get to question.
   25                        MR. KADOSH:     I think that the testimony

                                    Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 26 of 33 PageID: 12133



                                                                       Page 61

    1      isn't clear and we need to clarify.                Especially
    2      because we are using an interpreter I think it needs
    3      to be clarified now.
    4                     MR. INGBER:       I think it is clarified and
    5      I think you can ask him whatever questions you want
    6      after.
    7              Q.     According to, according to this, this
    8      complaint in paragraph 19 it says that you continued
    9      to say that you had been given direct orders from
   10      your manager Luis Arango to identify points of sale
   11      of any Zenu branded products and to tell such point
   12      of sale that the products were fake and that they had
   13      to be removed immediately from the sales floor.
   14                     MR. KADOSH:       Objection.         Asked and
   15      answered.
   16              Q.     Is that statement true?
   17              A.     He never told me that.
   18              Q.     Who is "he?"
   19              A.     Luis Alfonso.
   20              Q.     Did somebody else tell you that?
   21              A.     No.
   22              Q.      Did you go into any other locations
   23      like Twin City and point out to the store managers
   24      there that the Latinfood Zenu products were likewise
   25      unauthorized?

                                   Veritext Legal Solutions
        800-227-8440                                                       973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 27 of 33 PageID: 12134



                                                                      Page 62

    1                     MR. KADOSH:       Objection.        Asked and
    2      answered.
    3              A.     No.
    4              Q.     Did you tell Mr. Rodriguez that he
    5      wasn't, his wasn't the only store that you were, that
    6      was selling unauthorized Latinfood Zenu products?
    7              A.     No, I did not say that.
    8              Q.     So if I told you that Mr. Rodriguez
    9      testified under oath that you specifically mentioned
   10      that Twin Cities, Twin City was one of the stores
   11      that you had approached because they had also
   12      purchased Zenu branded products sold by Latinfood,
   13      that would be inaccurate?
   14                     MR. KADOSH:       Objection.        Asked and
   15      answered.
   16              A.     Incorrect.
   17              Q.     Incorrect.
   18              A.     Can I ask a question?
   19              Q.     No.   If you want to make a statement...
   20              A.     No.
   21              Q.     Do you know if Mr. Rodriguez removed
   22      Latinfood Zenu branded products from his location?
   23              A.     I don't know.
   24              Q.     Did you ever check again at that
   25      location to see if the goods were being sold?

                                   Veritext Legal Solutions
        800-227-8440                                                      973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 28 of 33 PageID: 12135



                                                                      Page 63

    1              A.     No.
    2              Q.     Did you, did you tell any of your
    3      employees by any chance that they should go to other
    4      store locations to check if Latinfood Zenu or
    5      Ranchero branded goods were being sold?
    6              A.     No.
    7              Q.     So you never followed up with any other
    8      store -- strike that.
    9                     So you never mentioned to any other
   10      store to the best of your recollection that the
   11      Latinfood Zenu branded products were unauthorized.
   12                     Is that correct?
   13              A.     No.
   14              Q.     So once you had -- I believe you said
   15      before that you had apologized to Mr. Zuluaga for
   16      bringing up his product to Mr. Rodriguez.
   17                     Is that correct?
   18                     MR. KADOSH:       Objection.        He did not
   19      testify that he apologized.
   20                     MR. INGBER:       He did.
   21              A.     I apologized once I learned that it was
   22      a product that was being manufactured by Mr. Zuluaga.
   23              Q.     You apologized to Mr. Zuluaga.
   24                     Is that correct?
   25              A.     Yes.

                                   Veritext Legal Solutions
        800-227-8440                                                       973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 29 of 33 PageID: 12136



                                                                         Page 64

    1              Q.     Was Mr. Zuluaga upset with you when he
    2      met with you?
    3              A.     Yes.
    4              Q.     How did the meeting with Mr. Zuluaga
    5      end?
    6              A.     It ended well.
    7              Q.     Did you report back to Mr. Arango about
    8      your meeting with Mr. Zuluaga?
    9                     MR. KADOSH:       Objection.        Asked and
   10      answered.
   11              A.     Yes.
   12              Q.     Did you take any notes or make any phone
   13      calls or send any e-mail or text message to anyone
   14      following your conversation with Mr. Zuluaga other
   15      than Mr. Arango?
   16                     MR. KADOSH:       Objection.        Compound
   17      question.    Can you break that down?
   18              A.     No.
   19              Q.     Do you know who John Jairo is?
   20              A.     No.
   21                     MR. INGBER:       J-A-I-R-O.
   22              Q.     Did you report back to Mr. Arango on any
   23      other locations where you had seen Latinfood Zenu or
   24      Ranchero branded products?
   25              A.     He gave me an order to forget about this

                                   Veritext Legal Solutions
        800-227-8440                                                       973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 30 of 33 PageID: 12137



                                                                      Page 65

    1      matter.
    2              Q.       Was that around the same time that you
    3      met with Mr. Zuluaga and Mr. Rodriguez?
    4              A.       After I met Mr. Zuluaga.
    5              Q.       Around the same time after?
    6                       MR. KADOSH:     Objection.        Asked and
    7      answered.
    8              A.       Immediately, yes.
    9                       MR. INGBER:     Why don't we take a short
   10      break?      I think we are close to the end.
   11                             (Brief recess is held.)
   12              Q.       Now, back when you met with Mr.
   13      Rodriguez before, before Mr. Zuluaga joined the,
   14      joined the, made it a three-way meeting, was there
   15      any other persons there while you were talking to Mr.
   16      Rodriguez?
   17              A.       No.
   18              Q.       Do you know if -- would it -- if I told
   19      you that there was a line stocker there named
   20      Gregorio at Food Fair does that name ring a bell to
   21      you?
   22              A.       He wasn't present in the face-to-face
   23      conversation.      That's all I know.
   24              Q.       Do you know, do you know who the person
   25      I'm talking about is, Gregorio, the line stocker?

                                   Veritext Legal Solutions
        800-227-8440                                                      973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 31 of 33 PageID: 12138



                                                                    Page 66

    1              A.      Yes, I know who he is.
    2              Q.      So do you know if Gregorio was in the
    3      area while you were talking to Mr. Rodriguez?             Do you
    4      remember?
    5              A.      No, I don't remember.
    6              Q.      So he may have been there but you don't
    7      remember one way or the other?
    8              A.      He was not in the conversation and the
    9      lines in that supermarket are very long.
   10              Q.      I think that's all I have.         Thank you
   11      for coming today.     I appreciate it.
   12                      MR. KADOSH:      I just have a few questions
   13      for you.     In your conversation with Mr. Rodriguez at
   14      Food Fair did you call the Latinfood Zenu or Ranchero
   15      product fake?
   16                      THE WITNESS:      No.
   17                      MR. KADOSH:      When you had your
   18      conversations with Luis Arango what language did you
   19      speak in?
   20                      THE WITNESS:      Spanish.
   21                      MR. KADOSH:      And do you know, do you
   22      know how fluent Mr. Arango is in English?
   23                      THE WITNESS:      I don't know because we
   24      only speak in Spanish.
   25                      MR. KADOSH:      No further questions.

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 32 of 33 PageID: 12139



                                                                    Page 67

    1                     (Testimony concludes at 12:48 p.m.)
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25

                                   Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:16-cv-06576-KM-MAH Document 266-40 Filed 10/10/22 Page 33 of 33 PageID: 12140

                       VERITEXT LEGAL SOLUTIONS
             COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

        Veritext Legal Solutions represents that the
        foregoing transcript is a true, correct and complete
        transcript of the colloquies, questions and answers
        as submitted by the court reporter. Veritext Legal
        Solutions further represents that the attached
        exhibits, if any, are true, correct and complete
        documents as submitted by the court reporter and/or
        attorneys in relation to this deposition and that
        the documents were processed in accordance with
        our litigation support and production standards.

        Veritext Legal Solutions is committed to maintaining
        the confidentiality of client and witness information,
        in accordance with the regulations promulgated under
        the Health Insurance Portability and Accountability
        Act (HIPAA), as amended with respect to protected
        health information and the Gramm-Leach-Bliley Act, as
        amended, with respect to Personally Identifiable
        Information (PII). Physical transcripts and exhibits
        are managed under strict facility and personnel access
        controls. Electronic files of documents are stored
        in encrypted form and are transmitted in an encrypted
        fashion to authenticated parties who are permitted to
        access the material. Our data is hosted in a Tier 4
        SSAE 16 certified facility.

        Veritext Legal Solutions complies with all federal and
        State regulations with respect to the provision of
        court reporting services, and maintains its neutrality
        and independence regardless of relationship or the
        financial outcome of any litigation. Veritext requires
        adherence to the foregoing professional and ethical
        standards from all of its subcontractors in their
        independent contractor agreements.

        Inquiries about Veritext Legal Solutions'
        confidentiality and security policies and practices
        should be directed to Veritext's Client Services
        Associates indicated on the cover of this document or
        at www.veritext.com.
